            Case 3:22-cv-01781-SI      Document 1       Filed 11/14/22     Page 1 of 10




Beth Creighton, OSB #972440
E-mail: Beth@civilrightspdx.com
CREIGHTON & ROSE, PC
735 SW First Ave., Ste. 300
Portland, Oregon 97204
Phone: (503) 221-1792
Fax:     (503) 223-1516

Of Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION


MICHAEL AUSTIN RELLOQUE, IV,                                              Case No. 3:22-cv-01781

                    Plaintiff,
                                                                                     COMPLAINT
              vs.

CITY OF WEST LINN, MATTHEW                             (42 USC 1983; Fourteenth Amendment -
GOODE, DANA GUNNARSON, TODD                        Equal Protection Clause, Intentional Infliction
GRADWAHL,                                                    of Emotional Distress, Negligence)

                    Defendant.
                                                                   JURY TRIAL REQUESTED

                                      I. INTRODUCTION

       1.       Plaintiff Michael Austin Relloque IV brings this action against Defendants City

of West Linn, Matthew Goode, Dana Gunnarson and Todd Gradwahl pursuant to 42 U.S.C. §

1983, for violation of his rights under the Equal Protection Clause of the Fourteenth Amendment

to the United States Constitution and for pendant state law claims for intentional infliction of

emotional distress and negligence. Plaintiff seeks declaratory relief, equitable relief, damages,



                                                                               CR EIG H T O N   ATTORNEYS
                                                                                &RO SE, PC      AT LAW

                                                                                                735 SW First Ave., #300
                                                                                                Portland, OR 97204
                                                                                                T. (503) 221-1792
                                                                                                F. (503) 223-1516
                                                                                                beth@civilrightspdx.com

PAGE 1 – COMPLAINT
             Case 3:22-cv-01781-SI        Document 1     Filed 11/14/22    Page 2 of 10




attorneys’ fees and litigation expenses/costs, including expert witness fees and expenses.

                                          II. JURISDICTION

        2.       This court has jurisdiction by virtue of 28 USC § 1331, 28 USC § 1343 and 28

USC § 1367. Venue is proper in this district pursuant to 28 USC §§ 1391(b). Defendants were at

all time material, residents of Oregon, and the events underlying this Complaint took place in

Clackamas County, making venue proper in the District of Oregon, Portland Division.

                                            III. PARTIES

        3.       Plaintiff Michael Austin Relloque (hereafter “Relloque”), at all times material

herein was a resident of the City of West Linn, a graduate of Pacific University majoring in film

and philosophy and a former college football player.

        4.       Defendant City of West Linn (hereafter “West Linn”), at all relevant times hereto

is a municipal corporation located in Clackamas County, Oregon and responsible under state law

for the acts and omissions of its law enforcement officers, agents, and other employees,

including those whose conduct is at issue herein.

        5.       Defendant Matthew Goode (hereafter “Goode”), is an officer with the West Linn

Police Department and former firefighter EMT acting under color of state law. Goode is sued in

his individual and official capacities.

        6.       Defendant Dana Gunnarson (hereafter “Gunnarson”), is an officer with the West

Linn Police Department acting under color of state law. Gunnarson is sued in her individual and

official capacities.

        7.       Defendant Todd Gradwahl (hereafter “Gradwahl”), at all times relevant hereto

was a Sergeant for the West Linn Police Department acting under color of state law. Gradwahl is


                                                                               CR EIG H T O N   ATTORNEYS
                                                                                &RO SE, PC      AT LAW

                                                                                                735 SW First Ave., #300
                                                                                                Portland, OR 97204
                                                                                                T. (503) 221-1792
                                                                                                F. (503) 223-1516
                                                                                                beth@civilrightspdx.com

PAGE 2 – COMPLAINT
             Case 3:22-cv-01781-SI      Document 1      Filed 11/14/22     Page 3 of 10




sued in his individual and official capacities.

                                            IV. FACTS

        8.       A few minutes after Midnight on November 14, 2020, the City of West Linn

Police Department received a dispatch from emergency services reporting a 911 call from

Relloque’s roommate reporting that he was acting erratic, had blood or a burn on his arm, ash or

dirt on his body and he smelled like burnt skin. She reported that Relloque had kicked in her

locked door, entered her room naked, advanced toward her, and climbed in her bed. She

reported that she armed herself with scissors, yelled at him to leave and he did.

        9.       Goode, Gunnarson and Gradwahl (hereafter collectively “the officers”) were

dispatched to 19856 White Cloud Circle to what they characterized as a “Behavioral Health

incident.”

        10.      American Medical Response (hereafter “AMR”) and Tualatin Valley Fire &

Rescue (hereafter “TVF&R”) were also dispatched to the scene and staged down the street

awaiting for the officers to make contact with Relloque at 12:23 AM.

        11.      Upon arriving at the scene, Relloque’s roommate met the officers in the driveway

and relayed that Relloque was standing naked, screaming “I AM A GOD!” from the top of the

stairs with what appeared to be ash or dirt on his chest, she could smell burnt skin and that he

may have a burn or blood on his arm.

        12.      Relloque’s roommate stated that she closed the door to her room and Relloque

came down the stairs and kicked it in, where upon she grabbed scissors and told Relloque to snap

out of it.

        13.      According to the roommate, Relloque responded “I will, I will” and then got in


                                                                              CR EIG H T O N   ATTORNEYS
                                                                               &RO SE, PC      AT LAW

                                                                                               735 SW First Ave., #300
                                                                                               Portland, OR 97204
                                                                                               T. (503) 221-1792
                                                                                               F. (503) 223-1516
                                                                                               beth@civilrightspdx.com

PAGE 3 – COMPLAINT
           Case 3:22-cv-01781-SI       Document 1      Filed 11/14/22      Page 4 of 10




her bed before leaving and going upstairs.

       14.     The officers suspected Relloque was hallucinating on mushrooms and were

concerned that he may have an injury to his arm.

       15.     Goode ran a search on Relloque’s name and car in their law enforcement

databases and found Relloque’s California drivers’ license and registration information. The law

enforcement databases identified Relloque’s race. Relloque’s photograph on his driver’s license

portrays him as a light brown-skinned man with an outward appearance of a Pacific Islander.

       16.     Instead of entering the residence and offering assistance to Relloque, who they

believed was injured and having a behavioral health incident, they called Relloque on his cell

phone. Relloque did not answer.

       17.     The officers checked the front and back yards and looked in the windows on the

ground floor. They looked inside the open sliding door in the basement, where they did, or

should have been able to, smell the burnt flesh that Relloque’s roommate had reported.

       18.     When Relloque did not respond to their attempts at contact, Gradwahl contacted

Captain Oddis Rollins (hereafter “Rollins”) misrepresenting to him that there had been no crime

committed.1 He also indicated that Relloque’s roommate had another place to stay and that he

believed Relloque was high on mushrooms.

       19.     Gradwahl deliberately chose not to tell Rollins that Relloque was reportedly

bloodied or burnt and that the smell of burning flesh permeated the residence.

       20.     Gradwahl indicated to Rollins that he did not believe that it was in the best


       1
        The incident as alleged by Relloque’s roommate triggers a mandatory arrest under ORS
133.055(2).


                                                                              CR EIG H T O N   ATTORNEYS
                                                                               &RO SE, PC      AT LAW

                                                                                               735 SW First Ave., #300
                                                                                               Portland, OR 97204
                                                                                               T. (503) 221-1792
                                                                                               F. (503) 223-1516
                                                                                               beth@civilrightspdx.com

PAGE 4 – COMPLAINT
          Case 3:22-cv-01781-SI           Document 1   Filed 11/14/22    Page 5 of 10




governmental interest to enter the location to make contact with Relloque. Based on the

information Gradwahl provided, Rollins agreed.

       21.     Gradwahl and the other officers told Relloque’s roommate to not go back inside

the residence and stay with her boyfriend.

       22.     Gradwahl also told Relloque’s roommate that the officers did not want to enter

the location and possibly create a use of force situation with someone that was high on

mushrooms.

       23.     At no point did the officers ask Relloque’s roommate if they had permission to

enter the residence to assist Relloque.

       24.     Approximate 53 minutes after arriving at the scene, the officers told AMR and

TVR&R medical to depart from the scene.

       25.     The officers then abandoned Relloque at the residence at approximately 1:25 AM.

       26.     The officers acted with deliberate indifference to Relloque’s personal security and

welfare in leaving the scene without assisting him knowing he was bleeding and burnt,

preventing his roommate from assisting him and sending away the medical professionals who

could have assisted him.

       27.     At approximately 2:23 AM, Gunnarson attempted to make phone contact with

Relloque, but was unsuccessful.

       28.     At approximately 4:00 AM on November 14, 2020, Gradwahl drove by the

residence and saw Relloque’s car in the driveway and did not see any movement in the house.

       29.     Gradwahl did not approach the house or try to make contact.

       30.     At approximately 6:30 AM, Marion County Sheriff Dalton was dispatched to the


                                                                             CR EIG H T O N   ATTORNEYS
                                                                              &RO SE, PC      AT LAW

                                                                                              735 SW First Ave., #300
                                                                                              Portland, OR 97204
                                                                                              T. (503) 221-1792
                                                                                              F. (503) 223-1516
                                                                                              beth@civilrightspdx.com

PAGE 5 – COMPLAINT
          Case 3:22-cv-01781-SI         Document 1       Filed 11/14/22    Page 6 of 10




Turnaround Café in Turner, OR, where they found Relloque disoriented, and severely burnt over

30% of his body with several fingers missing. Relloque was transported to Legacy Emmanuel’s

burn center.

       31.     At approximately 7:12 AM, Relloque’s roommate returned home and found a

large amount of Relloque’s hair in the bathroom, along with burnt human flesh and one of

Relloque’s fingers in the toilet attached to skin and a fingernail.

       32.     As a result of the events the morning of November 14, 2020, Relloque was

burned over 30% of his body, lost several fingers, endured several painful skin grafts and 10

surgeries, was in ICU for 6 weeks and hospitalized for a total of 3 months.

       33.     Therafter, Relloque endured physical pain, extensive rehabilitation and mental

pain and suffering. Relloque’s life has been permanently altered as a result of the events

described herein.

       34.     Plaintiff is still investigating the events of November 14, 2020, and the

surrounding circumstances that led to Defendants’ actions. Additional claims may be brought

based on discovery of additional evidence.

                                    V. CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF
                                        42 USC §1983
                                    Fourteenth Amendment

       35.     Plaintiff restates and realleges all paragraphs 1 through 34 of this Complaint.

       36.     Relloque has a right under the 14th Amendment to a liberty interest in his own

personal security.

       37.     Defendant Officers were acting under color of State Law on November 14, 2020,


                                                                              CR EIG H T O N   ATTORNEYS
                                                                               &RO SE, PC      AT LAW

                                                                                               735 SW First Ave., #300
                                                                                               Portland, OR 97204
                                                                                               T. (503) 221-1792
                                                                                               F. (503) 223-1516
                                                                                               beth@civilrightspdx.com

PAGE 6 – COMPLAINT
          Case 3:22-cv-01781-SI        Document 1      Filed 11/14/22     Page 7 of 10




when they engaged in the conduct alleged above.

       38.     By their actions alleged above, Defendant Officers affirmatively put Relloque in a

position of danger and increased the risk of harm to him.

       39.     The danger to which the officers exposed Relloque was known or obvious to

them. The officers knew that Relloque was bloody and burn and was experiencing a behavioral

health incident that required medical attention and they were wilfully blind to his obvious

medical needs and refused to address the serious risk to Relloque.

       40.     Defendant Officer’s actions violated Relloque’s rights guaranteed by the Equal

Protection Clause of the Fourteenth Amendment.

       41.     The Defendant Officers unlawful acts as described herein were the proximate

cause of Relloque’s injuries. Relloque is entitled to compensation from Defendant Officers for

his physical and emotional injuries.

       42.     Relloque is entitled to reimbursement of his reasonable attorneys’ fees and costs

pursuant to 42 USC § 1988 and 28 USC §1927.

       43.     Relloque is entitled to an award of punitive damages from Defendant Officers to

punish and deter them and others from similar conduct in the future.

                               SECOND CLAIM FOR RELIEF
                                      42 USC §1983
                                  Fourteenth Amendment
                                     Equal Protection

       44.     Plaintiff restates and realleges all paragraphs 1 through 34 of this Complaint.

       45.     Defendant Officers selectively and discriminatorily chose to not render assistance

and abandon Relloque, bloodied and burnt during a mental health crisis, based on his race in



                                                                              CR EIG H T O N   ATTORNEYS
                                                                               &RO SE, PC      AT LAW

                                                                                               735 SW First Ave., #300
                                                                                               Portland, OR 97204
                                                                                               T. (503) 221-1792
                                                                                               F. (503) 223-1516
                                                                                               beth@civilrightspdx.com

PAGE 7 – COMPLAINT
           Case 3:22-cv-01781-SI       Document 1       Filed 11/14/22     Page 8 of 10




violation of the Fourteenth Amendment of the United States Constitution, protected by 42 USC

§1983.

         46.   Defendant Officer’s actions violated Relloque’s rights guaranteed by the Equal

Protection Clause of the Fourteenth Amendment.

         47.   The Defendant Officers unlawful acts, as described herein, were the proximate

cause of Relloque’s injuries. Relloque is entitled to compensation from Defendant Officers for

his physical and emotional injuries.

         48.   Relloque is entitled to reimbursement of his reasonable attorneys’ fees and costs

pursuant to 42 USC § 1988 and 28 USC §1927.

         49.   Relloque is entitled to an award of punitive damages from Defendant Officers to

punish and deter them and others from similar conduct in the future.

                                THIRD CLAIM FOR RELIEF
                                       Negligence

         50.   Plaintiff restates and realleges all paragraphs 1 through 34 of this Complaint.

         51.    Relloque gave West Linn timely written notice of his state law claims and has

satisfied the notice requirements of the Oregon Tort Claims Act.

         52.   Defendants’ actions as alleged above violated the standard of care required of law

enforcement under the circumstances.

         53.   Defendants, having undertaken a welfare check and learning of injury to Relloque

failed to conduct a reasonable investigation and assess the extent of his injury or his danger to

himself or others.

         54.   Defendants’ actions created an unreasonable and foreseeable risk of injury to



                                                                               CR EIG H T O N   ATTORNEYS
                                                                                &RO SE, PC      AT LAW

                                                                                                735 SW First Ave., #300
                                                                                                Portland, OR 97204
                                                                                                T. (503) 221-1792
                                                                                                F. (503) 223-1516
                                                                                                beth@civilrightspdx.com

PAGE 8 – COMPLAINT
            Case 3:22-cv-01781-SI       Document 1       Filed 11/14/22     Page 9 of 10




Relloque.

         55.    As a result of the conduct alleged above, Relloque suffered injuries as described

above.

         56.    As a result of the above, Relloque is entitled to an award of economic and non

economic damages against Defendants, in amounts to be determined at trial.

         57.    To the extent that Relloque’s damages exceed Oregon’s Tort Claim limits, he is

entitled to compensation from the individual Defendant Officers.

         58.    Relloque should be awarded his costs, including expert fees against defendants.

                               FOURTH CLAIM FOR RELIEF
                           Intentional Infliction of Emotional Distress

         59.    Plaintiff restates and realleges all paragraphs 1 through 34 and 50 of this

Complaint.

         60.    A special government officer-citizen relationship exists between Relloque and

Defendants.

         61.    Defendants’ conduct as described above was outrageous and extreme and

constituted an extraordinary transgression of the bounds of socially tolerable conduct.

         62.    Defendants acted intentionally and/or knew with substantial certainty that their

conduct would cause Relloque to suffer severe emotional distress.

         63.    As a result of Defendants’ outrageous conduct, Relloque has suffered severe

emotional distress for which he seeks non-economic damages in a fair and just amount to be

determined by a jury.

         64.    To the extent that Relloque’s damages exceed Oregon’s Tort Claim limits, he is



                                                                               CR EIG H T O N   ATTORNEYS
                                                                                &RO SE, PC      AT LAW

                                                                                                735 SW First Ave., #300
                                                                                                Portland, OR 97204
                                                                                                T. (503) 221-1792
                                                                                                F. (503) 223-1516
                                                                                                beth@civilrightspdx.com

PAGE 9 – COMPLAINT
         Case 3:22-cv-01781-SI        Document 1      Filed 11/14/22     Page 10 of 10




entitled to compensation from the individual Defendant Officers.

       65.     Relloque should be awarded his costs, including expert fees against defendants.

       WHEREFORE, Plaintiff prays for his costs and disbursements incurred herein and for the

following in accordance with the proof at trial:

       1.      Economic damages;

       2.      Non-economic damages;

       3.      Reasonable attorneys’ fees, expert fees and costs;

       4.      Punitive damages;

       5.      Prejudgment and post judgment interest as appropriate and allowed by law;

       6.      Any and all other relief as this court may deem proper.


       DATED this 14th day of November, 2022        CREIGHTON & ROSE, PC

                                                     s/Beth Creighton
                                                    BETH CREIGHTON, OSB #972440
                                                    beth@civilrightspdx.com
                                                    Attorney for Plaintiff
                                                    735 SW First Ave, Suite 300
                                                    Portland, Oregon 97204
JURY TRIAL REQUESTED                                Tel: 503.221.1792




                                                                            CR EIG H T O N   ATTORNEYS
                                                                             &RO SE, PC      AT LAW

                                                                                             735 SW First Ave., #300
                                                                                             Portland, OR 97204
                                                                                             T. (503) 221-1792
                                                                                             F. (503) 223-1516
                                                                                             beth@civilrightspdx.com

PAGE 10 – COMPLAINT
